         CaseApplication
AO 106A (08/18) 2:21-mj-05080-DUTY                  Document
                         for a Warrant by Telephone or                1 Filed
                                                       Other Reliable Electronic    11/04/21
                                                                                 Means         Page 1 of 22 Page ID #:1


                                   UNITED STATES DISTRICT COURT
                                                    for the
                                        Central District
                                                 Districtofof
                                                            California
   In the Matter of the Search of                     )
   A Samsung cellular phone, IMEI                     )
                                                      )       Case No. 2:21-mj-5080
   354268112043190; and a OnePlus Model HD1913
   cellular phone, IMEI 866016042029636               )



   APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe
the property to be searched and give its location):
     See Attachment A
located in the Central District of California, there is now concealed (identify the person or describe the property to
be seized):
     See Attachment B
         The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
                   evidence of a crime;
                   contraband, fruits of crime, or other items illegally possessed;
                   property designed for use, intended for use, or used in committing a crime;
                   a person to be arrested or a person who is unlawfully restrained.
         The search is related to a violation of:
          Code Section                                                         Offense Description
      21 U.S.C. § 841(a)(1)                                         Possession with intent to distribute controlled
                                                                    substances
      21 U.S.C. § 846                                               Conspiracy and attempt to distribute controlled
                                                                    substances
      18 U.S.C. § 922(g)                                            Felon in possession of firearm and ammunition
      18 U.S.C. § 924(c)                                            Possession of firearm in furtherance of a drug
                                                                    trafficking crime



         The application is based on these facts:
               See attached Affidavit
                   Continued on the attached sheet.
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           Delayed notice of           days (give exact ending date if more than 30 days:                     ) is requested
        under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.
                                                                 /s/ James Chung
                                                                                     Applicant’s signature

                                                                 James Chung, Special Agent, ATF
                                                                                     Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by telephone.

Date: ___________________
                                                                                     Judge’s signature
City and state: Los Angeles, California                          Honorable Patricia Donahue, U.S. Magistrate Judge
                                                                 Printed name and title


AUSA: Jeremiah Levine x8323
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                              ATTACHMENT A

PROPERTY TO BE SEARCHED

     The following digital devices (the “SUBJECT DEVICES”),

seized on September 30, 2020, and currently maintained in the

custody of the Bureau of Alcohol, Tobacco, Firearms and

Explosives in Glendale, California:

     1.   A Samsung cellular phone, IMEI 354268112043190; and

     2.   A OnePlus Model HD1913 cellular phone, IMEI

866016042029636.




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                              ATTACHMENT B

     I. ITEMS TO BE SEIZED

     1.   The items to be seized are evidence, contraband,

fruits, or instrumentalities of violations of 21 U.S.C.

§§ 841(a)(1) (possession with intent to distribute controlled

substances) and 846 (conspiracy and attempt to distribute

controlled substances); 18 U.S.C. §§ 922(g) (prohibited person

in possession of firearm and ammunition) and 924(c) (possession

of a firearm in furtherance of a drug trafficking crime) (the

“Subject Offenses”), namely:

          a.    Records, documents, programs, applications and

materials, or evidence of the absence of same, sufficient to

show call log information, including all telephone numbers

dialed from any of the digital devices and all telephone numbers

accessed through any push-to-talk functions, as well as all

received or missed incoming calls;

          b.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show SMS text, email communications or other text or written

communications sent to or received from any of the digital

devices and which relate to the above-named violations;

          c.    Records, documents, programs, applications or

materials, or evidence of the absence of same, sufficient to

show instant and social media messages (such as Facebook,

Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp),

SMS text, email communications, or other text or written




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communications sent to or received from any digital device and

which relate to the above-named violations;

          d.    Records, documents, programs, applications,

materials, or conversations relating to the trafficking of

drugs, including ledgers, pay/owe records, distribution or

customer lists, correspondence, receipts, records, and documents

noting price, quantities, and/or times when drugs, guns, or

ammunition were bought, sold, or otherwise distributed;

          e.    Audio recordings, pictures, video recordings, or
still captured images related to the purchase, sale,

transportation, or distribution of drugs, guns, or ammunition;

          f.    Contents of any calendar or date book;

          g.    Global Positioning System (“GPS”) coordinates and

other information or records identifying travel routes,

destinations, origination points, and other locations; and

          h.    Any SUBJECT DEVICE which is itself or which

contains evidence, contraband, fruits, or instrumentalities of

the Subject Offenses, and forensic copies thereof.

          i.    With respect to any SUBJECT DEVICE containing

evidence falling within the scope of the foregoing categories of

items to be seized:

          j.    evidence of who used, owned, or controlled the

device at the time the things described in this warrant were

created, edited, or deleted, such as logs, registry entries,

configuration files, saved usernames and passwords, documents,

browsing history, user profiles, e-mail, e-mail contacts, chat

and instant messaging logs, photographs, and correspondence;


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           k.   evidence of the presence or absence of software

that would allow others to control the device, such as viruses,

Trojan horses, and other forms of malicious software, as well as

evidence of the presence or absence of security software

designed to detect malicious software;

           l.   evidence of the attachment of other devices;

           m.   evidence of counter-forensic programs (and

associated data) that are designed to eliminate data from the

device;
           n.   evidence of the times the device was used;

           o.   passwords, encryption keys, and other access

devices that may be necessary to access the device;

           p.   applications, utility programs, compilers,

interpreters, or other software, as well as documentation and

manuals, that may be necessary to access the device or to

conduct a forensic examination of it;

           q.   records of or information about Internet Protocol

addresses used by the device;

           r.   records of or information about the device’s

Internet activity, including firewall logs, caches, browser

history and cookies, “bookmarked” or “favorite” web pages,

search terms that the user entered into any Internet search

engine, and records of user-typed web addresses.

      2.   As used herein, the terms “records,” “documents,”

 “programs,” “applications,” and “materials” include records,

 documents, programs, applications, and materials created,




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 modified, or stored in any form, including in digital form on

 any digital device and any forensic copies thereof.

II. SEARCH PROCEDURE FOR THE SUBJECT DEVICES

      3.   In searching the SUBJECT DEVICES (or forensic copies

 thereof), law enforcement personnel executing this search

 warrant will employ the following procedure:

           a.   Law enforcement personnel or other individuals

assisting law enforcement personnel (the “search team”) may

search any SUBJECT DEVICE capable of being used to facilitate
the above-listed violations or containing data falling within

the scope of the items to be seized.

           b.   The search team will, in its discretion, either

search each SUBJECT DEVICE where it is currently located or

transport it to an appropriate law enforcement laboratory or

similar facility to be searched at that location.

           c.   The search team shall complete the search of the

SUBJECT DEVICES as soon as is practicable but not to exceed 120

days from the date of issuance of the warrant.         The government

will not search the digital device(s) beyond this 120-day period

without obtaining an extension of time order from the Court.

           d.   The search team will conduct the search only by

using search protocols specifically chosen to identify only the

specific items to be seized under this warrant.

           e.   The search team may subject all of the data

contained in each SUBJECT DEVICE capable of containing any of

the items to be seized to the search protocols to determine

whether the SUBJECT DEVICE and any data thereon falls within the


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scope of the items to be seized.        The search team may also

search for and attempt to recover deleted, “hidden,” or

encrypted data to determine, pursuant to the search protocols,

whether the data falls within the scope of the items to be

seized.

           f.   The search team may use tools to exclude normal

operating system files and standard third-party software that do

not need to be searched.

           g.   The search team may use forensic examination and
searching tools, such as “EnCase” and “FTK” (Forensic Tool Kit),

which tools may use hashing and other sophisticated techniques.

           h.   The search team will not seize contraband or

evidence relating to other crimes outside the scope of the items

to be seized without first obtaining a further warrant to search

for and seize such contraband or evidence.

           i.   If the search determines that a SUBJECT DEVICE

does not contain any data falling within the list of items to be

seized, the government will, as soon as is practicable, return

that SUBJECT DEVICE and delete or destroy all forensic copies

thereof.

           j.   If the search determines that a SUBJECT DEVICE

does contain data falling within the list of items to be seized,

the government may make and retain copies of such data, and may

access such data at any time.

           k.   If the search determines that the SUBJECT DEVICE

is (1) itself an item to be seized and/or (2) contains data

falling within the list of other items to be seized, the


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government may retain the digital device and any forensic copies

of the digital device, but may not access data falling outside

the scope of the other items to be seized (after the time for

searching the device has expired) absent further court order.

          l.    The government may also retain a SUBJECT DEVICE

if the government, prior to the end of the search period,

obtains an order from the Court authorizing retention of the

device (or while an application for such an order is pending),

including in circumstances where the government has not been
able to fully search a device because the device or files

contained therein is/are encrypted.

          m.    After the completion of the search of the SUBJECT

DEVICES, the government shall not access digital data falling

outside the scope of the items to be seized absent further order

of the Court.

          n.    The review of the electronic data obtained

pursuant to this warrant may be conducted by any government

personnel assisting in the investigation, who may include, in

addition to law enforcement officers and agents, attorneys for

the government, attorney support staff, and technical experts.

Pursuant to this warrant, the investigating agency may deliver a

complete copy of the seized or copied electronic data to the

custody and control of attorneys for the government and their

support staff for their independent review.

     4.   The special procedures relating to digital devices

found in this warrant govern only the search of digital devices

pursuant to the authority conferred by this warrant and do not


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apply to any search of digital devices pursuant to any other

court order.




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                                AFFIDAVIT

      I, James Chung, being duly sworn, declare and state as

follows:

                        I. PURPOSE OF AFFIDAVIT

      1.   This affidavit is made in support of an application

for a warrant to search two digital devices: a Samsung cellular

phone, IMEI 354268112043190; and a OnePlus Model HD1913 cellular

phone, IMEI 866016042029636 (collectively, the “SUBJECT

DEVICES”), described in Attachment A, for the items to be seized

described in Attachment B.

      2.   The requested search warrant seeks authorization to

seize evidence, fruits, or instrumentalities of violations of 21

U.S.C. §§ 841(a)(1) (possession with intent to distribute

controlled substances) and 846 (conspiracy and attempt to

distribute controlled substances); 18 U.S.C. §§ 922(g)

(prohibited person in possession of a firearm) and 924(c)

(possession of a firearm in furtherance of a drug trafficking

crime) (the “Subject Offenses”), as described more fully in

Attachment B.    Attachments A and B are incorporated herein by

reference.

      3.   The facts set forth in this affidavit are based upon

my personal observations, my training and experience, and

information obtained from various law enforcement personnel and

witnesses.    This affidavit is intended to show merely that there

is sufficient probable cause for the requested search warrant,

and does not purport to set forth all of my knowledge of or

investigation into this matter.       Unless specifically indicated


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otherwise, all conversations and statements described in this

affidavit are related in substance and in part only.

                       II. BACKGROUND OF AFFIANT

      4.   I am a Special Agent with the United States Department

of Justice’s Bureau of Alcohol, Tobacco, Firearms and Explosives

(“ATF”).   I have been an ATF Special Agent since July 2020.           I

am currently assigned to the Glendale I Field Office in the Los

Angeles Field Division of ATF, which conducts investigations

into violations of federal firearms, explosives, and narcotics

laws.

      5.   As a part of my training, I attended the Criminal

Investigator and Special Agent Basic Training Academies for ATF

at the Federal Law Enforcement Training Center in Glynco,

Georgia, for approximately 26 weeks.        This training included

instructions on federal and state firearms and narcotics laws

and regulations.

      6.   I have participated in investigations involving

violations of federal statutes governing firearms, explosives,

and narcotics.    I have also participated in investigating

violations of state firearms and narcotics laws.          I have

assisted in the execution of state and federal search warrants.

I have also conducted surveillance of individuals committing

crimes of violence, individuals trafficking in firearms,

individuals trafficking illegal narcotic substances, prohibited

persons in possession of firearms, and persons possessing

illegal firearms.     I have also interviewed confidential

informants, cooperating witnesses, criminal defendants, and


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other persons engaged in violations of federal firearms,

robbery, explosives, and narcotics laws.         Prior to my employment

with the ATF, I was a Probation Officer with the New York City

Department of Probation for two years.

                    III. SUMMARY OF PROBABLE CAUSE

      7.   On September 30, 2020, California Highway Patrol

(“CHP”) Officer Carlos Medina saw Taron AGAZARYAN drive a motor

vehicle through a red traffic light in North Hollywood,

California.    Officer Medina and his partner conducted a vehicle

stop, which subsequently led to the arrest of AGAZARYAN.           Upon

searching the vehicle AGAZARYAN was driving, law enforcement

officers found three firearms (two pistols and one AR-15 type

lower receiver with a detached AR-15 type upper receiver), live

rounds of 9mm ammunition, a substance later determined to be

methamphetamine, a substance later determined to be heroin, a

variety of pills marked to look like prescription medication, a

digital scale, $40,909, and the SUBJECT DEVICES.          AGAZARYAN has

two felony convictions.

                    IV. STATEMENT OF PROBABLE CAUSE

      8.   Based on my review of law enforcement reports, CHP

dashcam video, conversations with Officer Medina and ATF Agent

Jason Van Bennekum, and my own knowledge of the investigation, I

am aware of the following:




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      A.   Law Enforcement Finds AGAZARYAN in Possession of
           Firearms and Narcotics

      9.   I know the following based on my review of CHP

reports, CHP dashcam video, conversations with CHP Officer

Medina, and my review of drug test reports:

           a.    On September 30, 2020, at about 12:45 A.M., CHP

Officer Medina observed AGAZARYAN drive an Aston Martin through

a red traffic light in North Hollywood, California.          Officer

Medina and his partner and passenger, CHP Officer Stuart Ulvin,
made a traffic stop of AGAZARYAN.        During the traffic stop,

Officer Medina initially spoke to AGAZARYAN through the Aston

Martin’s driver’s-side window.       As Officer Medina and AGAZARYAN

spoke, Officer Medina observed AGAZARYAN making exaggerated

movements, smelled the odor of burnt and fresh marijuana, and

saw a digital scale on the center console of the vehicle.

Officer Medina told AGAZARYAN to exit the vehicle and detained

him in handcuffs on the side of the road.

           b.    While AGAZARYAN was detained, CHP Officer Ulvin

picked up AGAZARYAN’s wallet from the top of the Aston Martin,

where AGAZARYAN had left it.       Officer Ulvin noticed a California

Driver’s license inside the wallet that was obviously fake.

Officer Ulvin conducted a record check of the driver’s license

number, and the number returned to a female with different

descriptors than AGAZARYAN, who is male.         Officer Medina then

told AGAZARYAN that he was under arrest for possession of a

fraudulent California Driver’s license.




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           c.    Once AGAZARYAN was arrested, officers searched

the Aston Martin.      They discovered:

                 i.      20 live rounds of 9mm ammunition;

                 ii.     A Kimber model 1911 .45 caliber handgun with

a magazine inserted;

                 iii. A Girsan model MC 1911C .45 caliber

semiautomatic pistol;

                 iv.     An AR-15 type .223 caliber semiautomatic

pistol;
                 v.      Approximately 1.022 kilograms of what was

later determined to be a mixture and substance containing

methamphetamine;

                 vi.     Approximately 638.1 grams of what was later

determined to be heroin;

                 vii. Approximately 10.3 grams of mushroom-like

substance which later tested positive psilocyn and/or

psilocybin;

                 viii.        A container with 27.9 grams of

marijuana;

                 ix.     85 tablets with physical markings indicating

amphetamine, 4 sublingual films with physical markings

indicating buprenorphine, 31 tablets with physical markings

indicating oxycodone, 10 tablets with physical markings

indicating alprazolam, 110 tablets with physical markings

indicating tadalafil, 76 tablets with physical markings

indicating sildenafil, 12 items with a total gross weight of




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approximately 227.4 grams with physical markings indicating

alprazolam;

                 x.      a digital scale;

                 xi.     $40,909 in cash;

                 xii. Another California Driver’s License; and

                 xiii.        The SUBJECT DEVICES.

            d.   AGAZARYAN has not requested return of the

foregoing property.

      B.    AGAZARYAN is a Felon
      10.   I reviewed certified conviction documents for

AGAZARYAN and learned that AGAZARYAN has previously been

convicted of the following crimes punishable by a term of

imprisonment exceeding one year:

            a.   On or about November 16, 2018, AGAZARYAN was

convicted of a violation of California Health and Safety Code

Section 11378, Possession for Sale of a Controlled Substance, in

the Superior Court of California, County of Los Angeles, Case

Number LA089152; and

            b.   On or about July 19, 2019, AGAZARYAN was

convicted of a violation of California Health and Safety Code

Section 11378, Possession for Sale of a Controlled Substance, in

the Superior Court of California, County of Los Angeles, Case

Number LA089753.

      C.    Interstate Nexus Determination

      11. I reviewed a report by ATF Special Agent David

Hamilton stating that the Girsan and Kimber firearms, and the




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ammunition found in the Aston Martin, all traveled in interstate

or foreign commerce.

            V. TRAINING AND EXPERIENCE ON DRUG OFFENSES

      12.   Based on my training and experience and familiarity

with investigations into drug trafficking conducted by other law

enforcement agents, I know the following:

            a.   Drug trafficking is a business that involves

numerous co-conspirators, from lower-level dealers to higher-

level suppliers, as well as associates to process, package, and

deliver the drugs and launder the drug proceeds.          Drug

traffickers often travel by car, bus, train, or airplane, both

domestically and to foreign countries, in connection with their

illegal activities in order to meet with co-conspirators,

conduct drug transactions, and transport drugs or drug proceeds.

            b.   Drug traffickers often maintain books, receipts,

notes, ledgers, bank records, and other records relating to the

manufacture, transportation, ordering, sale and distribution of

illegal drugs.    The aforementioned records are often maintained

where the drug trafficker has ready access to them, such as on

their cell phones and other digital devices.

            c.   Communications between people buying and selling

drugs take place by telephone calls and messages, such as e-

mail, text messages, and social media messaging applications,

sent to and from cell phones and other digital devices.           This

includes sending photos or videos of the drugs between the

seller and the buyer, the negotiation of price, and discussion

of whether or not participants will bring weapons to a deal.             In


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addition, it is common for people engaged in drug trafficking to

have photos and videos on their cell phones of drugs they or

others working with them possess, as they frequently send these

photos to each other and others to boast about the drugs or

facilitate drug sales.

             d.   Drug traffickers often keep the names, addresses,

and telephone numbers of their drug trafficking associates on

their digital devices.      Drug traffickers often keep records of

meetings with associates, customers, and suppliers on their
digital devices, including in the form of calendar entries and

location data.

             e.   Individuals engaged in the illegal purchase or

sale of firearms and other contraband often use multiple digital

devices.

            VI. TRAINING AND EXPERIENCE ON FIREARMS OFFENSES

      13.    From my training, personal experience, and the

collective experiences related to me by other law enforcement

officers who conduct who conduct firearms investigations, I am

aware of the following:

             a.   Persons who possess, purchase, or sell firearms

generally maintain records of their firearm transactions as

items of value and usually keep them in their residence, or in

places that are readily accessible, and under their physical

control, such in their digital devices.        It has been my

experience that prohibited individuals who own firearms

illegally will keep the contact information of the individual




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who is supplying firearms for future purchases or referrals.

Such information is also kept on digital devices.

            b.    Many people also keep mementos of their firearms,

including digital photographs or recordings of themselves

possessing or using firearms on their digital devices.           These

photographs and recordings are often shared via social media,

text messages, and over text messaging applications.

            c.    Those who illegally possess firearms often sell

their firearms and purchase firearms.        Correspondence between
persons buying and selling firearms often occurs over phone

calls, e-mail, text message, and social media message to and

from smartphones, laptops, or other digital devices.           This

includes sending photos of the firearm between the seller and

the buyer, as well as negotiation of price.         In my experience,

individuals who engage in street sales of firearms frequently

use phone calls, e-mail, and text messages to communicate with

each other regarding firearms that they sell or offer for sale.

            d.    Individuals engaged in the illegal purchase or

sale of firearms and other contraband often use multiple digital

devices.

            VII. TRAINING AND EXPERIENCE ON DIGITAL DEVICES

      14.   As used herein, the term “digital device” includes the

SUBJECT DEVICES.

      15.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that the following electronic evidence, inter alia, is

often retrievable from digital devices:


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      a.   Forensic methods may uncover electronic files or

remnants of such files months or even years after the files have

been downloaded, deleted, or viewed via the Internet.           Normally,

when a person deletes a file on a computer, the data contained

in the file does not disappear; rather, the data remain on the

hard drive until overwritten by new data, which may only occur

after a long period of time.       Similarly, files viewed on the

Internet are often automatically downloaded into a temporary

directory or cache that are only overwritten as they are
replaced with more recently downloaded or viewed content and may

also be recoverable months or years later.

      b.   Digital devices often contain electronic evidence

related to a crime, the device’s user, or the existence of

evidence in other locations, such as, how the device has been

used, what it has been used for, who has used it, and who has

been responsible for creating or maintaining records, documents,

programs, applications, and materials on the device.           That

evidence is often stored in logs and other artifacts that are

not kept in places where the user stores files, and in places

where the user may be unaware of them.        For example, recoverable

data can include evidence of deleted or edited files; recently

used tasks and processes; online nicknames and passwords in the

form of configuration data stored by browser, e-mail, and chat

programs; attachment of other devices; times the device was in

use; and file creation dates and sequence.

      c.   The absence of data on a digital device may be

evidence of how the device was used, what it was used for, and


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who used it.     For example, showing the absence of certain

software on a device may be necessary to rebut a claim that the

device was being controlled remotely by such software.

      d.    Digital device users can also attempt to conceal data

by using encryption, steganography, or by using misleading

filenames and extensions.      Digital devices may also contain

“booby traps” that destroy or alter data if certain procedures

are not scrupulously followed.       Law enforcement continuously

develops and acquires new methods of decryption, even for
devices or data that cannot currently be decrypted.

      16.   Based on my training, experience, and information from

those involved in the forensic examination of digital devices, I

know that it can take a substantial period of time to search a

digital device for many reasons, including the following:

            a.    Digital data are particularly vulnerable to

inadvertent or intentional modification or destruction.           Thus,

often a controlled environment with specially trained personnel

may be necessary to maintain the integrity of and to conduct a

complete and accurate analysis of data on digital devices, which

may take substantial time, particularly as to the categories of

electronic evidence referenced above.

            b.    Digital devices capable of storing multiple

gigabytes are now commonplace.       As an example of the amount of

data this equates to, one gigabyte can store close to 19,000

average file size (300kb) Word documents, or 614 photos with an

average size of 1.5MB.




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      17.   Other than what has been described herein, to my

knowledge, the United States has not attempted to obtain this

data by other means.

                          VIII.      CONCLUSION

      18.   For all of the reasons described above, there is

probable cause to believe that AGAZARYAN has committed

violations of 21 U.S.C. §§ 841(a)(1) (possession with intent to

distribute controlled substances) and 846 (conspiracy and

attempt to distribute controlled substances); 18 U.S.C. §§

922(g) (prohibited person in possession of firearm and

ammunition) and 924(c) (possession of a firearm in furtherance

of a drug trafficking crime).       There is also probable cause to

believe that the items to be seized described in Attachment B

will be found in a search of the SUBJECT DEVICES described in

Attachment A


Attested to by the applicant in
accordance with the requirements
of Fed. R. Crim. P. 4.1 by
telephone on this ____ day of
_________, 2021.



HONORABLE PATRICIA DONAHUE
UNITED STATES MAGISTRATE JUDGE




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